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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

IN RE: CIVIL CASES ASSIGNED
TO UNITED STATES DISTRICT
JUDGE STEVEN D. GRIMBERG

           STANDING ORDER REGARDING CIVIL LITIGATION

      This case has been assigned to United States District Judge Steven D.

Grimberg. These guidelines are furnished to inform the parties and their counsel

of the policies, procedures, and practices of this Court, and to promote the just,

speedy, and economical disposition of cases. This Order, in combination with the

Civil Local Rules of the United States District Court for the Northern District of

Georgia and the Federal Rules of Civil Procedure, shall govern this case,

superseding any previous case instruction orders. In the event a Magistrate Judge

is assigned to this case, orders issued by that judge, rather than this Standing

Order, shall govern while the case is pending before the Magistrate Judge.

      Parties must comply with the Standing Order entered on the docket of their

case, but are not responsible for complying with any updated or amended version

of the Standing Order that appears on the Court’s website.




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I.    CASE ADMINISTRATION

      a.    Communications with Chambers

      The Courtroom Deputy Clerk, Sonya Lee-Coggins, is your principal point

of contact on matters related to this case. Neither counsel nor the parties should

discuss the merits of their case with the Courtroom Deputy Clerk or any of the

Court’s law clerks.

      Communications with Chambers should generally be made by email, with

all counsel or parties copied, to Courtroom Deputy Lee-Coggins at Sonya_Lee-

Coggins@gand.uscourts.gov. If the communication is of a time-sensitive nature,

your email should also copy Judge Grimberg’s career law clerk, KJ Jones, at

Kristina Jones@gand.uscourts.gov. If necessary, counsel or parties may contact

Chambers by telephone (404-215-1470), or by mail or hand delivery:

            The Honorable Steven D. Grimberg
            ATTN: Courtroom Deputy Sonya Lee-Coggins
            1701 United States Courthouse
            75 Ted Turner Drive, S.W.
            Atlanta, Georgia 30303-3309

Counsel and parties are cautioned that the Court, in its discretion, may file on the

docket any written communications, including emails, submitted to Chambers.

      As a professional courtesy, Courtroom Deputy Lee-Coggins may contact

counsel via email in advance of scheduling a telephone conference, hearing, or trial


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to confirm availability. It is the responsibility of counsel to respond to any

communication from Chambers within 24 hours.

      b.     Courtesy Copies of Documents

      Courtesy copies of filings should not be provided to the Court unless

requested.

      c.     Attorney Leaves of Absence

      Counsel are encouraged to review their calendars and submit as early as

practicable any requests for leave(s) of absence. Leave requests shall comply with

NDGa LR 83.1(E)(4). All requests for leave must be filed on the docket.

      d.     Pro Se Parties

      Specific procedures applicable to pro se parties are contained in the

Appendix to this Standing Order and should be followed by individuals who are

not represented by counsel.

II.   CASE MANAGEMENT

      a.     Responses to Pleadings

      A party filing an answer to a complaint, counterclaim, crossclaim, or third-

party complaint shall copy into its answer the paragraph of the pleading to which

it is responding and provide its answer to that paragraph immediately following.




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      A responsive pleading must admit or deny each of the averments of the

adverse party’s pleading. For example, if the complaint alleges, “A copy of the

parties’ contract is attached as Exhibit A,” the defendant may not plead, e.g.,

“Defendant admits that Exhibit A is attached to the complaint,” or that “the

document speaks for itself.” Evasive denials such as these will be disregarded, and

the averments to which they are directed will be deemed admitted pursuant to

Fed. R. Civ. P. 8(b)(6).

      b.       Motions and Briefs

      Parties need not file a motion and supporting brief as separate documents

on the docket. Rather, parties should consolidate their motion and brief into one

document, and file it on the docket as a motion.

      c.       Amended Complaints and Motions to Dismiss

      If, in response to a motion to dismiss, a plaintiff files an amended complaint

pursuant to Fed. R. Civ. P. 15(a)(1), the defendant-movant is directed to

determine—within 10 days after the filing of the amended complaint—whether

the pending motion to dismiss has been rendered moot. If so, the defendant shall

withdraw it.

      During the pendency of a motion to dismiss filed by any party, in whole or

in part, all discovery is automatically stayed until the Court rules on the motion or


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otherwise directs. This stay includes all pretrial activity and deadlines, such as the

NDGa LR 16.1 conference, Joint Preliminary Report and Discovery Plan, initial

disclosures, and commencement of discovery. If a party believes good cause exists

for any or all pretrial activity to continue or deadlines to remain in effect

notwithstanding the pendency of a motion to dismiss, the party may submit a

request to Chambers pursuant to the discovery dispute procedures outlined in

Section III.f. of this Standing Order.

      d.     Motions for Temporary Restraining Orders or Preliminary
             Injunctive Relief

      Any request for a temporary restraining order or for preliminary injunctive

relief must be made by separate motion. If a party requests such relief only in the

complaint or other pleading, but fails to file a separate motion seeking the same,

the request will not be considered until the merits of the case are addressed. After

filing an appropriate motion, the movant should contact Chambers to request

expedited consideration.

      e.     Electronic Filing of Exhibits and Attachments

      The parties should make every effort to label all electronically uploaded

exhibits and attachments according to their content. For example, documents

should be uploaded as Ex. A: Smith Deposition; Ex. B: Employment Contract;



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Ex. C: Jones Letter, etc., rather than simply Ex. A, Ex. B, and Ex. C. When

practicable, each party should file documents in a text-searchable PDF format.

Exhibits or attachments that are not referenced and relied on in the body of the

party’s submission will not be considered.

      f.    Proposed Orders

      Proposed orders may be filed or submitted to Chambers, but are not

required unless specifically requested by the Court.

      g.    Extensions of Time

      The Court is responsible for moving cases toward a prompt and just

resolution. To that end, the Court seeks to set reasonable, but firm deadlines.

Motions for extension of time, even if designated as joint, unopposed, or by

consent, will not be granted as a matter of course. The Court may schedule a status

conference for further explanation of why an extension is necessary.

      Parties seeking an extension should explain with specificity the

unanticipated or unforeseen circumstances necessitating the extension and should

set forth a full timetable for the completion of discovery or the briefing for which

the extension is sought. For example, if a defendant seeks additional time to file a

motion to dismiss, the request should include a proposed schedule for completion

of the briefing, including filing of the response and reply briefs. Parties should


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indicate whether the opposing party consents to the request for an extension and

the proposed schedule. If such a motion is filed less than three days prior to the

deadline the parties seek to extend, the parties must promptly alert Chambers to

the filing via email.

      h.     Extension of Page Limit

      Parties seeking an extension of the page limit on briefs or objections to

Report and Recommendations must file a motion requesting same at least three

days in advance of the filing deadline and must explain the circumstances

necessitating additional pages. Parties should indicate whether the opposing party

consents to the request for additional pages.

      If a party files a motion to extend the page limit at the same time its brief or

objections are due, the extension request will be denied and the brief or objections

may be stricken, absent a compelling and unanticipated reason.

      i.     Conferences

      Parties are encouraged to request a conference with the Court if they believe

that it will be helpful, provided they have specific goals for the conference.

Conferences may be requested via email to Chambers.




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      j.     Requests for Oral Argument or a Hearing

      The Court will consider requests for oral argument or a hearing on a

contested motion. Such a request should be filed as a separate motion. The motion

will receive favorable consideration if the requesting party represents that a

lawyer with fewer than seven years of litigation experience will conduct the

argument (or at least a substantial part thereof), it being the Court’s belief that less

experienced lawyers need more opportunities for court appearances than they

usually receive.

      k.     Mediation

      Parties are encouraged to mediate their disputes, and to do so early in the

litigation process. On a joint or consent motion, discovery and other pretrial

deadlines will generally be stayed during the pendency of mediation.

      On request from any party, or on its own initiative, the Court may refer the

parties to court-ordered mediation before a United States Magistrate Judge

pursuant to NDGa LR 16.7(B). There is no cost for this mediation service. Requests

to mediate before a magistrate judge may be made jointly or ex parte by emailing

Chambers.




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       l.    Settlements

       When all parties to a matter have reached a tentative settlement or agreed

to a settlement in principle, but have not yet completed all steps necessary to

document the settlement, they should alert the Court immediately by emailing

Chambers or filing a Notice of Settlement that indicates the amount of time likely

needed to complete the settlement process and dismiss the action.

III.   Discovery

       a.    General Principles of Discovery

       In conducting discovery, parties should be guided by courtesy, candor, and

common sense. Direct and informal communication among counsel is encouraged

to facilitate discovery and to resolve disputes without the need for Court

intervention.

       b.    Rule 26(f) Conference and Joint Preliminary Report and Discovery
             Plan

       Notwithstanding NDGa LR 16.1, parties by agreement may conduct their

Rule 26(f) Conference by videoconference rather than in person. Parties by

agreement may also extend the date by which the Rule 26(f) Conference is

completed. However, extensions for filing the Joint Preliminary Report and

Discovery Plan (“Joint Report”) must be requested by motion.




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      After the Joint Report is filed, the Court may schedule a conference. Neither

the timing of a conference with the Court nor entry of the Scheduling Order shall

delay the start of discovery. Parties are cautioned that the Court will rarely

authorize an initial discovery period that is over six months.

      c.    Initial Disclosures

      Initial disclosures should be as complete as possible based on the

information reasonably available to the parties at the time of disclosure. Responses

may not be reserved for later supplementation. Parties by agreement may extend

the date by which initial disclosures are exchanged.

      d.    Written Discovery Responses

      The Federal Rules prohibit boilerplate and general objections in response to

written discovery requests. Parties should not carelessly invoke the usual litany of

rote objections, i.e., attorney-client privilege, work-product protection, overly

broad/unduly burdensome, irrelevant, or not reasonably calculated to lead to the

discovery of admissible evidence.

      A party shall not include in its response to a discovery request a “Preamble”

or a “General Objections” section stating that the party objects to a discovery

request “to the extent that” it violates some rule pertaining to discovery. Instead,

a party must respond to each individual discovery request with every specific


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objection thereto—but only those objections that actually apply to that particular

request. Otherwise, it is impossible for the Court or the party on which the

discovery response is served to know exactly what objections have been asserted

to each request. All “General Objections” shall be disregarded by the Court.

      A party that objects in part and responds in part to a discovery request must

indicate whether the response is complete, i.e., whether additional information or

documents would have been provided but for the objection(s). For example, a

party is not permitted to raise objections and then state, “Subject to these objections

and without waiving them, the response is as follows . . . .” unless the party

expressly indicates whether additional information would have been included in

the response but for the objection(s).

      If a privilege objection is made, the claim must be supported by a privilege

log or statement of particulars sufficient to enable the requesting party and the

Court to assess its validity. In the case of a document, the privilege log or statement

should specify the privilege relied on and, when available, generally include: the

date, title, subject, and purpose of the document; the name and position of the

author; and, the names and positions of all the recipients. In the case of an oral

communication, the privilege log or statement should include the privilege relied




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on and generally identify: the date, place, subject, and purpose of the

communication; and the names and positions of all individuals present.

      The parties are expected to observe the limitations regarding the number

and scope of interrogatories as stated in Fed. R. Civ. P. 26(b) and 33.

      e.      Depositions

      Barring extraordinary circumstances, all parties should be consulted, and

the convenience of counsel, witnesses, and the parties accommodated, before a

deposition is noticed.

      If counsel enter into stipulations at the beginning of a deposition, the terms

of each stipulation should be fully stated on the record. General stipulations such

as “all objections except as to form are reserved” or “the usual stipulations” are

disfavored.

      Objections to the manner of taking the deposition, to the evidence, or to the

conduct of a party shall be noted on the record, but the evidence objected to shall

be taken subject to the objection. In the absence of a good faith claim of privilege

or witness harassment, instructions not to answer are rarely justified and may lead

to sanctions. Speaking objections and other tactics for coaching a witness during

the deposition are not permissible. Counsel are encouraged to try to resolve

deposition objections without the Court’s involvement.

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      Absent a good faith reason to do so, the Court will not permit the taking of

depositions for the preservation of testimony after the close of discovery. A party

must make such a request by motion.

      f.     Discovery Disputes

      Parties are required to confer in good faith before bringing discovery

disputes to the attention of the Court. The duty to confer is not satisfied by sending

a written document (e.g., email or letter) to the opposing party, unless repeated

attempts to confer by telephone, videoconference, or in person are unsuccessful.

      The filing of discovery-related motions against a party to the litigation

(except for unopposed, consent, or joint motions) is prohibited. This prohibition

includes motions for discovery-related sanctions. Instead, the party seeking Court

intervention must email Chambers a statement outlining its position and

requesting a conference with the Court. All parties must be copied on such emails.

Unless the issues are complex or numerous, the statement should not exceed 3

pages, as its purpose is simply to apprise the Court of the issue(s). It is not intended

as a substitute for full briefing. Parties may also attach particularly pertinent

exhibits to their statement (such as an excerpt of the discovery requests and

responses or objections in dispute), but inundating the Court with voluminous




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exhibits at this stage is discouraged. The opposing party or parties may provide a

responding statement to the Court, subject to the same limitations.

      After receipt of the parties’ submissions, Chambers will either schedule a

conference call with the parties, during which the Court will seek to rule on or

resolve the matter without the necessity of a formal motion, or will provide further

instructions to the parties via email. Conference calls will be recorded by a court

reporter and any substantive instructions will likewise be entered on the docket,

along with copies of the parties’ written submissions (in the discretion of the

Court).

      If a dispute between a party and a non-party arises (e.g., a disagreement

regarding a subpoena), the party must promptly inform the non-party of this

discovery-dispute policy. In raising the discovery dispute with the Court, both the

party and the non-party must follow the same procedure detailed above. If a non-

party fails to respond to a properly served subpoena, the party issuing the

subpoena must file a formal motion seeking relief and alert Chambers to the filing

via email so that it can receive prompt attention.

      g.    Discovery Period Extensions

      Parties are encouraged to formulate their discovery plans early to facilitate

the completion of necessary discovery before the close of the discovery period. If

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all parties agree that an extension or reopening of discovery is necessary, the

parties shall file a consent motion. The consent motion shall state: (1) the original

(and, if applicable, current) date from which the extension is being sought; (2) the

number of previous requests for extensions, if any; and (3) why the extension is

needed to complete identifiable tasks.

      Where requests to extend or reopen discovery are not made by consent, or

are otherwise opposed, the requesting party should provide the same information

outlined above but make the request using the discovery dispute procedure

outlined in Section III.f. of this Standing Order.

      Absent extraordinary circumstances, requests or motions for extension of

discovery must be filed prior to the expiration of the existing discovery period.

The Court will not enforce private agreements between the parties or their counsel

to conduct discovery beyond the conclusion of the discovery period. The Court

does not allow the presentation of evidence at trial that was requested and not

revealed during the discovery period unless the Court orders such material to be

produced after completion of the discovery period.

      h.     Protective Orders and Motions to Seal

      The Court will generally defer to the parties, and sign and enforce, any

mutually agreed-upon and reasonable protective order that sets out the

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procedures for parties to follow in designating certain documents and information

as confidential or challenging any such designation. However, the Court is not a

party to any such agreement and may publicly disclose material that has

previously been designated by a party or the parties as confidential or filed under

seal if the Court determines that such designation or sealing is not warranted

under the circumstances. Additionally, if any party wishes to challenge a

confidentiality designation, the party must follow the Court’s discovery dispute

procedure set forth in Section III.f. of this Standing Order, notwithstanding any

contrary procedure agreed-upon by the parties, even if that procedure is

memorialized in a protective order or document approved by the Court.

      Absent extraordinary circumstances making prior consultation impractical

or inappropriate, the party seeking to file documents containing confidential

information shall first consult with the party who designated the document as

confidential to determine if some less restrictive measure than filing the document

under seal may serve to provide adequate protection. Any motion to file under

seal should indicate whether it is by consent, unopposed, or opposed.

      In the absence of a protective order entered by the Court, to request to file

material under seal, counsel should follow the procedures described in the Local

Rules and consult the Court’s Procedure for Electronic Filing Under Seal in Civil

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Cases.1 These procedures require filing an unredacted version of the document as

provisionally under seal and publicly filing a redacted version of the document, in

addition to the motion to file under seal.

      When filing the unredacted, provisionally sealed document, counsel should

use the CM/ECF event code “Notice of Filing.” The Notice of Filing should be the

lead document, and the brief and all supporting documents should be included as

exhibits to the notice. For example, if the party is requesting that Exhibit A to a

Motion for Summary Judgment and a portion of the memorandum of law in

support of the motion be filed under seal, the Notice of Filing Sealed Document

should attach as exhibits: the motion for summary judgment, the unredacted

supporting memorandum of law, Exhibit A, and all other exhibits to the motion.

If documents are being filed under seal pursuant to a protective order that has

been entered by the Court, no motion to file under seal is necessary. The Notice of

Filing should indicate the applicable provision of the protective order under which

the documents are being sealed. Nor are motions to seal required to file under seal

information required to be redacted by NDGa Standing Order Nos. 04-02 and 08-




1   www.gand.uscourts.gov/cv-sealed-procedures.

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02, including Social Security numbers, names of minor children, dates of birth,

street addresses, and financial account numbers.

      These instructions do not apply to parties appearing pro se. For pro se

litigants, motions to seal must be filed with the Clerk of Court in person or by mail.

In such instances, the material subject to the request to seal should be attached as

an exhibit to the motion. The Clerk will enter the motion on the docket under a

provisional seal, without public viewing access.

      The party filing the motion to file under seal should clearly indicate the type

of material the party is seeking to seal and its justification for protecting that

material from disclosure. In accordance with Fed. R. Civ. P. 26(c), the Court will

only grant such motions for good cause. Given the public’s interest in disclosure,

good cause will generally only be established where the materials contain trade

secrets, personal identifying information, or sensitive commercial information.

      i.     Expert Witness Disclosure

      Absent an explicit deadline provided in the scheduling order, expert

witnesses must be disclosed at least 60 days prior to the close of fact discovery.

Rebuttal experts must be disclosed within 30 days of the initial expert disclosure.




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IV.   Summary Judgment

      a.    Successive Motions for Summary Judgment Prohibited

      The filing of piecemeal or successive motions for summary judgment by a

single party is prohibited, absent prior permission of the Court. This prohibition

does not preclude a party from filing both a motion for summary judgment

asserting an immunity from suit and a later motion for summary judgment

addressing any issues that may remain in the case. This prohibition also is not

triggered when, as permitted by Fed. R. Civ. P. 12(d), the Court elects to treat a

motion filed pursuant to Fed. R. Civ. P. 12(b) or 12(c) as a summary judgment

motion.

      b.    Record Citations

      Record citations should be made only in the statement of undisputed

(or disputed) material facts or responses thereto (hereinafter collectively referred

to as “SMFs”). Summary judgment briefs should cite only to the relevant

numbered paragraph(s) of the SMFs, not the underlying record.

      c.    Statements of Undisputed or Disputed Material Facts

      SMFs are each limited to 25 pages absent prior permission of the Court. A

party responding to a statement of undisputed or disputed material facts shall




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copy the statement to which it is responding and provide its response to that

statement immediately following.

V.    Trial

      a.      Consolidated Proposed Pretrial Order

      Pursuant to NDGa LR 16.4, a consolidated proposed pretrial order must be

filed by the parties within 30 days after the close of discovery or a ruling on any

motions for summary judgment, whichever is later. In listing witnesses and

exhibits in the proposed pretrial order, a party may not reserve the right to

supplement the list and may not adopt another party’s list by reference. Witnesses

and exhibits not identified in the proposed pretrial order may not be used during

trial, (1) unless the witness or exhibit is solely for impeachment or rebuttal and

could not have been anticipated in advance, or (2) to prevent a manifest injustice.

      b.      Daubert Motions

      Daubert motions must be filed no later than the date the proposed pretrial

order is filed. Briefs in opposition must be filed within 14 days, and reply briefs

must be filed within seven days thereafter. The parties should state explicitly in

their respective filings whether they believe an evidentiary hearing is required to

resolve the issue.




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      c.     Trial Order

      Following the parties’ filing of their consolidated proposed pretrial order

and the Court’s review of same, the Court will enter an order scheduling a final

pretrial conference and trial, and setting other pre-trial deadlines, including

deadlines for motions in limine, consolidated proposed jury charges, as well as the

submission of final exhibit lists and witness lists to Chambers. Counsel who wish

to prevent potential conflicts with personal leave must file a Leave of Absence on

the docket no later than the filing of the consolidated proposed pretrial order.

      d.     Motions in Limine

      Motions in Limine are encouraged to resolve anticipated issues of

admissibility. However, boilerplate motions that are not specifically tailored to the

anticipated evidence at trial, or motions that only generally ask the Court to follow

a particular rule of evidence or a well-established principle of law, will be

summarily denied.

      e.     Consolidated Proposed Jury Charges and Verdict Form

      The parties will be ordered to file a consolidated set of proposed jury

charges and verdict form in advance of trial. A Word version of the same should

be attached to the CM/ECF filing receipt email and forwarded to Chambers.




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         Counsel must use the Eleventh Circuit Pattern Jury Instructions, when

applicable. If there is no appropriate Eleventh Circuit charge, counsel should use

Federal Jury Practice and Instructions. If Georgia State law applies, counsel must use

the Suggested Pattern Jury Instructions by the Council of Superior Court Judges

of Georgia. If other state law applies, counsel shall present the appropriate pattern

instruction from the applicable state. When proposing charges for which there is

not a pattern instruction, counsel must provide citations to the legal authorities

supporting the charge requested.

         Each request to charge shall be numbered sequentially and on a separate

page, with authority for the requested charge cited at the bottom of the page.

Where a proposed instruction is not agreed upon, the parties should indicate who

is proposing the instruction and the legal basis for the instruction, as well as the

legal basis for the other party’s opposition to the instruction. Counsel will have an

opportunity to amend and/or supplement the proposed jury charges and verdict

form at any time prior to the charging conference.

         The Court will generally charge the jury before closing argument. The jury

will be provided with a written copy of the jury instructions before deliberations

begin.




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      f.     Exhibit List and Witness List

      The parties will be ordered to email an exhibit list and witness list to

Chambers in advance of trial. The exhibit list must include the style of the case and

case number in a header or footer, and include the following column fields:

(1) Exhibit Number; (2) Description; (3) Bates No. or Source (optional); (4) Date

Tendered; (5) Date Admitted. A template exhibit list can be provided upon request

by emailing Chambers. In addition, each affixed exhibit sticker must include the

case number and exhibit number, as well as the name of the tendering party. The

sticker must be attached to the page so as not to cover up any portion of the exhibit.

      g.     Final Pretrial Conference

      The purpose of the final pretrial conference is to resolve objections raised in

the proposed pretrial order, hear argument and rule on pending motions in limine,

as well as discuss trial logistics generally. All counsel and paraprofessionals who

intend to meaningfully participate in the trial should be present. Local counsel

need not be present unless they intend to likewise meaningfully participate in trial.

      h.     Courtroom Technology

      Our courtroom has various electronic equipment for use by counsel at trial

and hearings. For more information on the equipment, or to schedule an

opportunity to test the equipment, please contact Chambers. It is the parties’


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responsibility to make sure they know in advance of the hearing or trial how to

use the equipment available, to have the cables necessary to hook up their

equipment, and to ensure that their equipment will interface with the Court’s

technology. Counsel must always be prepared to proceed with their presentation

without the benefit of the courtroom technology if necessary.

      Any party or counsel without a Blue Card (i.e., the blue ID card issued

through the U.S. Marshals Service) who would like to bring into the courthouse

electronic equipment, such as a laptop computer or a cell phone with a camera,

must file a motion and proposed order allowing the same. The proposed order

should identify the person(s) seeking to bring in the electronic equipment, specify

the type of equipment and date(s) of the hearing or trial to which the party or

counsel desires to bring the equipment, and identify the courtroom to which the

equipment will be brought. The motion and accompanying order should be filed

at least two business days prior to the hearing or trial.

      i.     Trial Days

      The Court’s trial days will generally run from 9:00 a.m. until 5:00 p.m.,

Monday through Friday. There will generally be a 15-minute recess mid-morning

and again mid-afternoon, as well as a lunch break.




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      When the jury is in the courtroom, it is the responsibility of the Court, the

litigants, and counsel to utilize the jury’s time efficiently. Accordingly, it is each

party’s responsibility to have enough witnesses on hand for each day’s

proceedings. Matters that need to be addressed outside the presence of the jury

should be reasonably anticipated and raised during breaks or before the start of

the trial day. Sidebar conferences during trial are particularly disfavored and

requests for them will generally be denied.

      j.     Voir Dire

      During voir dire, the Court will ask the venire certain qualifying and conflict-

related questions. The Court will then allot a certain amount of time (to be set

during the final pretrial conference) for the parties to ask their respective voir dire

questions as well as any natural follow-up questions from individual answers

previously provided.

      In general, eight jurors will be selected to deliberate for cases expected to

last two weeks or less. The Court may empanel additional jurors for cases expected

to last more than two weeks.

      k.     Courtroom Communications and Conduct

      All communications to the Court should be made before a microphone from

a position at counsel table or from the lectern. Counsel should refrain from making


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disparaging remarks or displaying ill will toward witnesses and other counsel.

Counsel and litigants are to refrain from making gestures, facial expressions, or

audible comments as manifestations of approval or disapproval of testimony,

argument, or rulings by the Court. Counsel are prohibited from addressing

comments or questions to each other. All arguments, objections, and motions

should be addressed to the Court.

      Counsel should not ordinarily make motions in the presence of the jury.

Such matters may be raised at the next recess. A motion for mistrial must be made

immediately, but the Court may require argument at the next recess or excuse the

jury. When making an objection, counsel shall state only the legal basis of the

objection (e.g., “leading” or “hearsay”) and should not elaborate, argue, or refer to

other evidence unless asked to do so by the Court. Offers or requests for

stipulations should be made privately, not within the hearing of the jury.

      SO ORDERED this 5th day of July, 2023.




                                                     Steven D. Grimberg
                                                  United States District Judge




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                            APPENDIX A:
             SPECIAL INSTRUCTIONS FOR PRO SE LITIGANTS

       Parties proceeding pro se (without an attorney) must comply with the

Federal Rules of Civil Procedure (“Fed. R. Civ. P.”) as well as the Court’s Local

Rules (“NDGa LR”). Pro se parties may obtain certain basic materials and hand-

outs from the Office of the Clerk of Court located on the 22nd Floor of the Richard

B. Russell Federal Building, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.

Many     documents      are   also   available   on    the   Court’s    website    at

www.gand.uscourts.gov.

       Litigants are generally prohibited from engaging in ex parte communications

with the Court. “Ex parte communications” means any form of contact with the

Court outside the presence of the opposing party or opposing party’s counsel. If a

litigant seeks court action, the appropriate procedure is to put the request in

writing, in the form of a motion, file the motion with the Clerk’s office, and serve

the opposing party or party’s counsel.

       A pro se litigant is required to (1) provide the Clerk with an original of any

further pleadings or other papers filed after the Complaint, and (2) serve on the

opposing party or party’s counsel, by mail or hand delivery, a copy of every

additional pleading or other paper described in Fed. R. Civ. P. 5. Once counsel for

the opposing party has appeared in the case, the opposing party should not be


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served individually; service should be made directly on the opposing party’s

counsel. The Clerk of Court and the U.S. Marshals Service will not serve

documents filed by either party, unless expressly directed to do so by the Court.

      Each pleading or paper described in Fed. R. Civ. P. 5 shall include a

certificate stating the date on which an accurate copy of that document was served.

This Court may disregard any papers that have not been properly filed with the

Clerk, or that do not include a certificate of service. Pro se litigants are also advised

that, under NDGa LR 7.1, if the deadline for a response to a motion passes without

a response being filed, the motion is deemed unopposed. Further, under NDGa

LR 56.1(B)(2)(a)(2), if a respondent to a motion for summary judgment contests

facts included in the movant’s statement of material facts, the respondent must

file, along with the response brief, a response to the movant’s statement of material

facts, otherwise the Court will deem the movant’s facts as admissions.

      Pro se litigants are further REQUIRED to keep the Court advised of their

current address at all times during the pendency of the lawsuit. NDGa LR

83.1(D)(3) provides that parties appearing pro se have a duty to notify the Clerk’s

Office by letter of any change in address or telephone number. A pro se litigant’s

failure to do so where such failure “causes delay or adversely affects the

management of a case” may be subject to sanction by the Court. Pro se litigants are

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encouraged to provide the opposing party/counsel with an email address for

purposes of communicating regarding the case and serving copies of court filings

and discovery. Pro se litigants are advised, however, that the Court serves papers

via regular mail only and not via email.




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